Case 8:04-cr-00348-CEH-TGW Document 366 Filed 01/30/06 Page 1 of 2 PageID 1445




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 UNITED STATES OF AMERICA

 -vs-                                                             Case No. 8:04-cr-348-T-24 TGW

 KEVIN McMAHON

 _______________________________/

                                               ORDER
        This cause comes before the Court on Defendant Kevin McMahon’s Motion to Dismiss
 Because Barred By the Statute of Limitations. (Doc. No. 337). The Government opposes this
 motion. (Doc. No. 356).
        Defendant McMahon is named in Count One (RICO conspiracy) of a four-count
 indictment charging seven defendants with involvement in a RICO conspiracy and various
 Hobbs Act violations. In this motion, Defendant McMahon argues that he has been included in
 the RICO count due to his alleged role in two robberies that occurred in New York and New
 Jersey in 1995. He further argues that the charge against him should be dismissed, because it is
 barred by the five-year statute of limitations for RICO prosecutions.
        The Government responds that the charge against Defendant McMahon is not barred by
 the five-year statute of limitations, because it is alleged in the Superseding Indictment that the
 conspiracy continued through the date of the Superseding Indictment, which was filed on June
 29, 2005. (Doc. No. 231, ¶ 12). Thus, the charge against Defendant McMahon is not barred
 because an “indictment satisfies the requirements of the statute of limitations if the conspiracy is
 alleged to have continued into the limitations period.” U.S. v. Coia, 719 F.2d 1120, 1124 (11th
 Cir. 1983).
        The Court agrees with the Government that it has sufficiently alleged that the conspiracy
 continued into the limitations period. Furthermore, the Court rejects at this stage of the case
 Defendant McMahon’s arguments that the 1995 robberies in New York and New Jersey
Case 8:04-cr-00348-CEH-TGW Document 366 Filed 01/30/06 Page 2 of 2 PageID 1446




 constitute separate conspiracies and that the 1995 robberies are not connected to the pattern of
 racketeering activity in this case.
        Accordingly, it is ORDERED AND ADJUDGED that Defendant Kevin McMahon’s
 Motion to Dismiss Because Barred By the Statute of Limitations (Doc. No. 337) is DENIED.

        DONE AND ORDERED at Tampa, Florida, this 30th day of January, 2006.




 Copies to: Counsel of Record




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